                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
 In re:                                          :   Chapter 11
                                                 :
 SCUNGIO BORST & ASSOCIATES,                     :   Case No. 22-10609 (AMC)
 LLC,                                            :
                                                 :
                        Debtor.                  :
                                                 :

            PRAECIPE TO WITHDRAW OBJECTION TO AMENDED CLAIM 4
                  OF GENOVA, BURNS, GIANTOMASI & WEBSTER

TO THE CLERK OF BANKRUPTCY COURT:

          Kindly withdraw the Objection of the Chapter 11 Trustee to Amended Claim 4 filed by

Genova, Burns, Giantomasi & Webster filed as part of the SBA Plan Trust Administrator’s First

Omnibus Objections to Proofs of Claim, Scheduled Claims, and Request For Expungement on

October 18, 2024, docket number 480.



Date: November 20, 2024              By: /s/ Edmond M. George __________________
                                     Edmond M. George, Esquire
                                     Michael D. Vagnoni, Esquire
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                                     For the SBA Plan Trust




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